            Case 4:22-cv-03201-YGR Document 21 Filed 08/05/21 Page 1 of 5

                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION
BILLJCO, LLC

vs.                                                 Case No.: 6:21-cv-528
APPLE INC.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Larissa S. Bifano                                         , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Apple Inc.                                         in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               DLA Piper LLP (US)                                         with offices at:

               Mailing address: 33 Arch Street, 26th Floor

               City, State, Zip Code: Boston, MA 02110-1447

               Telephone: 617-406-6000                       Facsimile: 617-406-6100


       2.      Since    November 28, 2005                     , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of Massachusetts                .

               Applicant's bar license number is 663105                                                 .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                        Admission date:
               Massachusetts State Courts                    11/28/2005

               District of Massachusetts                     4/27/2006

               U.S Court of Appeals - Federal Circuit        10/5/2010
     Case 4:22-cv-03201-YGR Document 21 Filed 08/05/21 Page 2 of 5

4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):
       N/A




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number: See Attachment A             on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
       N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):
       N/A




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
Case 4:22-cv-03201-YGR Document 21 Filed 08/05/21 Page 3 of 5
       Case 4:22-cv-03201-YGR Document 21 Filed 08/05/21 Page 4 of 5



             Attachment A - Larissa Bifano - Motion for Admission Pro Hac Vice
5.   I have previously applied to Appear Pro Hac Vice in this district court in Cases:
     Number: 1:18-cv-00990 on the 13th day of December, 2018.
     Number: 1:18-cv-00991 on the 13th day of December, 2018.
     Number: 1:18-cv-00293 on the 19th day of April, 2018.
     Number: 1:18-cv-00296 on the 19th day of April, 2018.
     Number: 1:18-cv-00158 on the 15th day of March, 2018.
     Number: 1:18-cv-00159 on the 15th day of March, 2018.
     Number: 1:18-cv-00161 on the 15th day of March, 2018.
     Number: 1:18-cv-00163 on the 15th day of March, 2018.
     Number: 1:18-cv-00164 on the 15th day of March, 2018.
     Number: 1:18-cv-00166 on the 15th day of March, 2018.
             Case 4:22-cv-03201-YGR Document 21 Filed 08/05/21 Page 5 of 5

                            0*(/%$ ./"/%. $(./-(#/ #+0-/
                             2%./%-* $(./-(#/ +& /%3".
                                 WACO DIVISION

BILLJCO, LLC

RO'                                                 /@OD 8L', 6:21-cv-528
APPLE INC.



                                             +-$%-

       .1 5= ;1717.1;10 LK PGHO C@T% PGDND S@O MNDODKPDC PL PGD /LQNP PGD 7LPHLK ELN

-CJHOOHLK :NL 4@B ?HBD EHIDC AT Larissa S. Bifano                                    % BLQKODI ELN

Apple Inc.                                        % @KC PGD /LQNP% G@RHKF NDRHDSDC PGD JLPHLK% DKPDNO

PGD ELIILSHKF LNCDN,

       5= 5< 9;01;10 PG@P PGD 7LPHLK ELN -CJHOOHLK :NL 4@B ?HBD HO 3;-8=10% @KC

Larissa S. Bifano                      J@T @MMD@N LK ADG@IE LE Apple Inc.

HK PGD @ALRD B@OD'

       5= 5< 2>;=41; 9;01;10 PG@P Larissa S. Bifano                                        % HE GD(OGD

G@O KLP @IND@CT CLKD OL% OG@II HJJDCH@PDIT PDKCDN PGD @JLQKP LE "*))'))% J@CD M@T@AID PL, #85:7 0!.!

$6;<:64< #9=:<% HK BLJMIH@KBD SHPG 6LB@I /LQNP ;QID -=&I#E$#+$'

       <53810 PGHO PGD               C@T LE August                            % +)          '




                                                    UNITED STATES DISTRICT JUDGE
